Case 2:21-cv-12871-MAG-APP ECF No. 106, PageID.1757 Filed 12/13/22 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 JEFFREY FRANZ, et al.,

                                                          Case No. 21-cv-12871
        Plaintiffs,

 vs.                                                      HON. MARK A. GOLDSMITH

 OXFORD COMMUNITY SCHOOL
 DISTRICT, et al.,

       Defendants.
 __________________________/

  ORDER ADJOURNING DEADLINES IN CASE MANAGEMENT AND SCHEDULING
                          ORDER (Dkt. 50)

        All deadlines in the case management and scheduling order (Dkt. 50) are adjourned until

 further order of the Court.

        SO ORDERED.

 Dated: December 13, 2022                          s/Mark A. Goldsmith
        Detroit, Michigan                          MARK A. GOLDSMITH
                                                   United States District Judge




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